EXHIBIT 18
              PATROL GUIDE
              Section: Tactical Operations                      Procedure No:   221-02

                                                  USE OF FORCE
              DATE ISSUED:           DATE EFFECTIVE:     REVISION NUMBER:       PAGE:
                     06/27/16                06/27/16                                    1 of 4


PURPOSE         To provide guidelines for members of the service (MOS) regarding the use of
                force, and ensure that each use of force is properly reported and documented.

DEFINITIONS     DE-ESCALATION – Taking action to stabilize the situation and reduce the
                immediacy of the threat so that more time, options, and/or resources become
                available (e.g., tactical communication, requesting a supervisor, additional MOS
                and/or resources such as Emergency Service Unit or Hostage Negotiation Team,
                etc.). The goal is to gain the voluntary compliance of the subject, when
                appropriate and consistent with personal safety, to reduce or eliminate the
                necessity to use force.

                ACTIVE RESISTING – Includes physically evasive movements to defeat a
                member of the service’s attempt at control, including bracing, tensing, pushing,
                or verbally signalling an intention to avoid or prevent being taken into or retained
                in custody.

                ACTIVE AGGRESSION – Threat or overt act of an assault (through physical or
                verbal means), coupled with the present ability to carry out the threat or assault,
                which reasonably indicates that an assault or injury to any person is imminent.

                PASSIVE RESISTANCE – Minimal physical action to prevent a member from
                performing their lawful duty. For example, a subject failing to comply with a
                lawful command and stands motionless and/or a subject going limp when being
                taken into custody.

                RESISTING ARREST (NYS PENAL LAW) - A person is guilty of resisting
                arrest when he intentionally prevents or attempts to prevent a police officer or
                peace officer from effecting an authorized arrest of himself or another person.

PROCEDURE       When a member of the service must gain compliance, control, or custody of an
                uncooperative subject, the member should comply with P.G. 221-01, “Force
                Guidelines” and:

UNIFORMED       1.       Take necessary action to protect life and personal safety of all persons
MEMBER OF                present, including subjects being placed into custody.
THE SERVICE     2.       Utilize de-escalation techniques when appropriate and consistent with
                         personal safety, which may reduce or eliminate the need to use force, and
                         increase the likelihood of gaining the subject’s voluntary compliance.
                3.       Isolate and contain the subject, if appropriate.
                4.       Immediately request a supervisor to respond, as soon as appropriate and
                         safety permits.
                5.       Request additional members, as necessary, to control situation.
                6.       Request the response of the Emergency Service Unit, if appropriate.

          NEW  YORK  CITY  POLICE  DEPARTMENT
PATROL GUIDE
PROCEDURE NUMBER:         DATE EFFECTIVE:             REVISION NUMBER:             PAGE:

        221-02                     06/27/16                                                  2 of 4

NOTE                MOS should consider whether a subject’s lack of compliance is a deliberate attempt to
                    resist, or alternatively, an inability to comply, resulting from factors including, but not
                    limited to, medical condition, mental impairment, developmental disability, physical
                    limitation, language barrier, and/or drug interaction.

UNIFORMED           7.      Comply with P.G. 221-13, “Mentally Ill or Emotionally Disturbed
MEMBER OF                   Persons,” if the subject is acting in a manner that would lead the member
THE SERVICE                 of service to believe that the subject is emotionally disturbed or under the
(continued)                 influence of a mind-altering substance.

SUPERVISOR          8.      Assume command of the incident and coordinate the use of de-escalation
ON SCENE                    techniques, if appropriate and consistent with officer safety.
                    9.      Direct tactics to minimize the possibility of injury to members of the
                            service, the subject, or bystanders.

UNIFORMED           10.     If the use of de-escalation and conflict negotiation techniques fail to
MEMBER OF                   persuade an uncooperative subject to cooperate, the supervisor/members
THE SERVICE/                of the service present should, if appropriate and consistent with officer
SUPERVISOR                  safety:
ON SCENE                    a.      Advise the offender that he/she will be charged with the additional
                                    offense of resisting arrest
                            b.      Devise a tactical plan with members present to restrain the subject
                                    while minimizing the possibility of injury to members of the
                                    service, the subject, and bystanders
                            c.      Advise the offender that physical force or other devices (e.g., O.C.
                                    pepper spray, shield, baton/asp, etc.) will be used to handcuff/restrain
                                    him/her before applying such force, if appropriate.

NOTE                Members of the service should not use O.C. Pepper Spray, Conducted Electrical
                    Weapon, or impact weapons on persons who are passively resisting.

                    11.     Apply no more than the reasonable force necessary to gain control.
                            a.     Avoid actions which may result in chest compression, such as
                                   sitting, kneeling, or standing on a subject’s chest or back, thereby
                                   reducing the subject’s ability to breathe.
                    12.     Assess the situation continually and adjust the use of force as necessary.

NOTE                All members of the service must intervene to stop another member of the service from
                    using excessive force. Failure to intervene in the use of excessive force, or report
                    excessive force, or failure to request or to ensure timely medical treatment for an
                    individual is serious misconduct that may result in criminal and civil liability and will
                    result in Department discipline, up to and including dismissal. If a member of the
                    service becomes aware of the use of excessive force or failure to request or to ensure
                    timely medical treatment for an individual, the member must report such misconduct to
                    the Internal Affairs Bureau Command Center. This report can be made anonymously.



            NEW  YORK  CITY  POLICE  DEPARTMENT
 PATROL GUIDE
 PROCEDURE NUMBER:          DATE EFFECTIVE:                REVISION NUMBER:                PAGE:

         221-02                      06/27/16                                                         3 of 4

NOTE                 Obtaining a Confidential Identification Number from the Command Center investigator will
(continued)          satisfy the member’s reporting responsibility, if the information is accurate and complete.
                     Subsequent or ongoing reporting is encouraged to ensure the information is timely and
                     complete and may be made by referencing the Confidential Identification Number.

UNIFORMED            13.      Rear-cuff the subject, when practical.
MEMBER OF                     a.     If it is safer for the member of the service and the subject, the
THE SERVICE                          member of the service may front-cuff the subject initially, and
                                     then rear-cuff as soon as it is practical and safety allows.
                              b.     If members of the service are having difficulty rear-cuffing a subject,
                                     Department issued leg restraints or Velcro straps to immobilize the
                                     legs of a subject may be used as an effective tactic to gain control,
                                     limit the subject’s ability to flee or harm other individuals, and allow
                                     the subject to be safely rear-cuffed with minimal force.

NOTE                 If available, Department issued alternative restraining devices should be used to restrain, or
                     further restrain, subjects whose actions may cause injury to themselves or others.

                     14.      Position the subject to promote free breathing, as soon as safety permits,
                              by sitting the person up or turning the person onto his/her side.
                     15.      Observe the subject closely for injuries, signs of serious illness, or
                              difficulty breathing.
                     16.      Whenever any level of force is used, inquire if subject requires medical
                              attention and document response to inquiry in ACTIVITY LOG
                              (PD112-145).
                     17.      If the subject is injured or ill, ensure subject receives proper medical
                              attention.
                     18.      Ensure subject receives immediate medical attention and provide first aid,
                              if appropriate and properly trained, if subject is having difficulty
                              breathing or demonstrates any potentially life-threatening symptoms or
                              injuries.
                     19.      If the location of the police action is poorly lit, use a flashlight or other
                              source of illumination to maintain a clear view of the subject at all times.
                     20.      Notify immediate supervisor regarding the type of force used, the reason
                              force was used, and injury to any person involved.
                     21.      Document use of force in ACTIVITY LOG.

IMMEDIATE            22.      Perform duties of the “immediate supervisor” as per P.G. 221-03,
SUPERVISOR                    “Reporting and Investigation of Force Incident or Injury to Persons
                              During Police Action,” when notified or after becoming aware of any use
                              of force incident.

RELATED              Reporting and Investigation of Force Incident or Injury to Persons During Police Action (P.G. 221-03)
PROCEDURES           Force Guidelines (P.G. 221-01)
                     Mentally Ill or Emotionally Disturbed Persons (P.G. 221-13)
                     Member of the Service Subjected to Force While Performing Lawful Duty (P.G. 221-06)

              NEW  YORK  CITY  POLICE  DEPARTMENT
PATROL GUIDE
PROCEDURE NUMBER:       DATE EFFECTIVE:    REVISION NUMBER:    PAGE:

        221-02                  06/27/16                               4 of 4

FORMS AND           ACTIVITY LOG (PD112-145)
REPORTS             STOP REPORT (PD383-151)
                    ON LINE BOOKING SYSTEM ARREST WORKSHEET (PD244-159)
                    MEDICAL TREATMENT OF PRISONER (PD244-150)
                    AIDED REPORT WORKSHEET (PD304-152b)




            NEW  YORK  CITY  POLICE  DEPARTMENT
